                     FILED
             2020 Jul-17 PM 06:04
            U.S. DISTRICT COURT
                N.D. OF ALABAMA




Exhibit 1
  7/17/2020                                                               Find A Member Results




                                                                                            MY ACCOUNT (STARTPAGE.ASPX?SITE=DCBAR)

                                                                                            MARKETPLACE (DYNAMICPAGE.ASPX?

                                                                                           WEBCODE=COEPUBLIST&PAGER=12&SITE=DCBAR)
(https://www.dcbar.org/index.cfm)
                                                                                            EVENTS (DYNAMICPAGE.ASPX?SITE=DCBAR&WEBCODE=EVENTLIST)

                                                                                            FIND A MEMBER (DYNAMICPAGE.ASPX?
SITE MENU                                                                                  SITE=DCBAR&WEBCODE=FINDMEMBER)



Membership

    Find A Member Search Results
    Records matching your search criteria: 1
                                                                 Search Again (DynamicPage.aspx?Site=dcbar&WebCode=FindMember)
    To learn if there is any disciplinary proceedings for the
    following attorneys, please visit the disciplinary system (//www.dcbar.org/attorney-discipline/disciplinary-decisions.cfm).

    See the Membership Classes (http://www.dcbar.org/membership/classes-of-membership.cfm) page for a complete description of license types and
    status definitions.

    1.    Larry E Klayman
          2020 Pennsylvania Ave NW # 345
          Washington DC 20006-1811
          UNITED STATES
          Phone: (310)595-0800



          Membership Status: DISCIPLINARY   SUSPENSION
          Date of Admission: 12/22/1980




  https://join.dcbar.org/eweb/DynamicPage.aspx?Site=dcbar&WebCode=FindMemberResults                                                         1/2
7/17/2020                                                          Find A Member Results




      Membership                 My Account
      (https://www.dcbar.org/membership/index.cfm)
                           (MemberPage.aspx?
      Bar Resources              site=dcbar)
      (https://www.dcbar.org/bar-
                           Marketplace                                                     © 2019 The District of

      resources/index.cfm)       (DynamicPage.aspx?                                        Columbia Bar

      CLE                        site=dcbar&webcode=COEMerchandiseList)                     901 4th Street, NW
      (https://www.dcbar.org/cle/index.cfm)
                           Calendar                                                         Washington, DC 20001
      Communities                (DynamicPage.aspx?
      (https://www.dcbar.org/communities/index.cfm)
                           site=dcbar&webcode=eventslist)                                   phone: 202.737.4700

      Pro Bono                   Find a Member                                              Contact Us

      (https://www.dcbar.org/pro-
                           (DynamicPage.aspx?                                               (https://www.dcbar.org/about-

      bono/index.cfm)            site=dcbar&webcode=findmember)                             the-bar/contact-

      Attorney Discipline                                                                   us.cfm)

      (https://www.dcbar.org/attorney-                                                      terms of use
      discipline/index.cfm)                                                                 (https://www.dcbar.org/member
      For the Public                                                                        a-member.cfm/terms-
      (https://www.dcbar.org/for-                                                           of-use.cfm) | privacy
      the-public/index.cfm)                                                                 policy
      About the Bar                                                                         (https://www.dcbar.org/member
      (https://www.dcbar.org/about-                                                         a-member.cfm/privacy-
      the-bar/index.cfm)                                                                    policy.cfm)




https://join.dcbar.org/eweb/DynamicPage.aspx?Site=dcbar&WebCode=FindMemberResults                                   2/2
